Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 1 of 19 Page ID
                                 #:7616


   1
       Beth Wilkinson (admitted pro hac vice)
   2   Brian Stekloff (admitted pro hac vice)
       Rakesh Kilaru (admitted pro hac vice)
   3   Jeremy S. Barber (admitted pro hac vice)
       WILKINSON STEKLOFF LLP
   4   2001 M Street NW, 10th Floor
       Washington, DC 20036
   5   Telephone: (202) 847-4000
       Facsimile: (202) 847-4005
   6   bwilkinson@wilkinsonstekloff.com
       bstekloff@wilkinsonstekloff.com
   7   rkilaru@wilkinsonstekloff.com
       jbarber@wilkinsonstekloff.com
   8
       Counsel for Defendants National
   9   Football League, NFL Enterprises LLC,
       and the Individual NFL Clubs
  10
       [Additional Counsel Listed on Signature
  11   Pages]
  12
                                    UNITED STATES DISTRICT COURT
  13
                                 CENTRAL DISTRICT OF CALIFORNIA
  14

  15

  16 IN RE: NATIONAL FOOTBALL                      Case No. 2:15-ml-02668-PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
  17 ANTITRUST LITIGATION,
                                                   DISCOVERY MATTER
  18   _______________________________
                                                   JOINT STIPULATION REGARDING
  19   THIS DOCUMENT RELATES TO:                   THE NFL DEFENDANTS’ MOTION
       ALL ACTIONS.                                TO COMPEL COMMERCIAL
  20                                               PLAINTIFFS TO RESPOND TO
                                                   INTERROGATORY NO. 10
  21

  22                                               Magistrate Judge: Hon. John E.
                                                   McDermott
  23                                               Date/Time: 5/17/2022, 10:00 a.m.
  24                                               Discovery Cutoff Date: 8/5/2022
                                                   Pretrial Conference Date: 2/9/2024
  25                                               Trial Date: 2/22/2024
  26

  27

  28

       Case No. 2:15-ml-02668-PSG (JEMx)          Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                  Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 2 of 19 Page ID
                                 #:7617


   1                                            TABLE OF CONTENTS
   2   I.      PRELIMARY STATEMENTS ....................................................................... 1
   3           A.        NFL DEFENDANTS’ PRELIMINARY STATEMENT ..................... 1
   4           B.        PLAINTIFFS’ PRELIMINARY STATEMENT .................................. 2
   5   II.     DISCOVERY REQUESTS AND RESPONSES IN DISPUTE ..................... 3
   6   III.    PARTIES’ CONTENTIONS .......................................................................... 3
   7           A.        NFL DEFENDANTS’ STATEMENT.................................................. 3
   8                     1.       Factual and Procedural Background ........................................... 3
   9                     2.       Legal Standard ............................................................................ 5
  10                     3.       Commercial Plaintiffs must respond to this Plainly
                                  Relevant Interrogatory ................................................................ 5
  11
                         4.       Conclusion .................................................................................. 9
  12
               B.        PLAINTIFFS’ STATEMENT .............................................................. 9
  13
                         1.       Downstream Discovery is Highly Disfavored............................ 9
  14
                         2.       NFL Defendants Seek Discovery of Downstream Data
  15                              That Do Not Exist and Would be Unduly
                                  Burdensome, If Even Possible, to Create ................................. 10
  16
                         3.       Interrogatory No. 10 Seeks Irrelevant Downstream
  17                              Data ........................................................................................... 12
  18                     4.       Conclusion ................................................................................ 14
  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                                    i
        Case No. 2:15-ml-02668-PSG (JEMx)                               Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                                        Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 3 of 19 Page ID
                                 #:7618


   1           Pursuant to Fed. R. Civ. P. 37 and Local Rule 37-2, the NFL Defendants and
   2   Plaintiffs Ninth Inning Inc., dba The Mucky Duck, and 1465 Third Avenue
   3   Restaurant Corp., dba Gael Pub (collectively, the “Commercial Plaintiffs”) submit
   4   the following joint stipulation regarding the NFL Defendants’ Motion to Compel
   5   Commercial Plaintiffs to Respond to Interrogatory No. 10, which was served on
   6   Commercial Plaintiffs via the NFL Defendants’ First Set of Interrogatories on
   7   November 29, 2021.
   8   I.      PRELIMARY STATEMENTS
   9           A.        NFL DEFENDANTS’ PRELIMINARY STATEMENT
  10           Commercial Plaintiffs have taken the unreasonable position that they are not
  11   required to respond to an interrogatory that requests relevant information.
  12   Specifically, the NFL Defendants served an interrogatory that seeks to have each
  13   Commercial Plaintiff identify both the approximate amount of revenue generated on
  14   each day of the week and the day of the week on which they generated the most
  15   revenue. Interrogatory No. 10, the NFL Defs.’ First Set of Interrogatories to
  16   Commercial Plaintiffs [Ex. A.]. This information is relevant to issues related to both
  17   class certification and the merits. Among other things, the role (if any) that NFL
  18   Sunday Ticket played in generating the revenues obtained by the Commercial
  19   Plaintiffs goes to their adequacy as class representatives and the proper market
  20   definition for their claims.
  21           To date, Commercial Plaintiffs have refused to respond to this Interrogatory,
  22   relying on cases that suggest that discovery of “downstream” revenue data is
  23   precluded when it is sought to be used to support a “pass-on” defense—i.e., a defense
  24   that claims that plaintiffs are not harmed because they passed the cost of the alleged
  25   overcharge on to the end consumer. The NFL Defendants, however, are not seeking
  26   this discovery in support of a potential “pass-on” defense. Instead, the Interrogatory
  27   seeks information relevant to other purposes, including class certification and the
  28   merits of the case, and thus is proper.
                                                 1
        Case No. 2:15-ml-02668-PSG (JEMx)            Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                     Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 4 of 19 Page ID
                                 #:7619


   1           The NFL Defendants respectfully request that the Court compel Commercial
   2   Plaintiffs to respond to Interrogatory No. 10.
   3           B.        PLAINTIFFS’ PRELIMINARY STATEMENT
   4           Downstream discovery into class representatives’ business matters is highly
   5   disfavored in principle; it does not turn merely on the presence of a “pass-on”
   6   defense. The Supreme Court, appellate courts, and trial courts have repeatedly
   7   warned against the potential chilling impact such discovery can have on the
   8   important role of private enforcement of the antitrust laws. That case law is legion,
   9   and the NFL Defendants rely instead on outlier (or inapplicable) cases.
  10           Here, the presumption against such downstream discovery is particularly apt,
  11   and the NFL Defendants’ attempts to justify it are particularly strained. In the first
  12   instance, the NFL Defendants seek daily revenue information concerning these small
  13   neighborhood bars over an eleven-year class period, which the class representatives
  14   do not maintain in any manner that would allow for reasonable summary. It would
  15   be enormously burdensome—and potentially impossible, in some places, based on
  16   present accounting records—to perform the requested calculations and supply this
  17   information.
  18           And even assuming that the NFL Defendants’ interrogatory could be
  19   answered with reasonable confidence in approximations (which, by all appearances,
  20   it cannot), the burden would be undue and disproportionate because the information
  21   sought lacks relevance. This is an antitrust overcharge case. Whether Commercial
  22   Plaintiffs’ purchases of Sunday Ticket increased their revenue is immaterial: they
  23   were harmed because they paid more than they would have but for the NFL
  24   Defendants’ anticompetitive agreements. Finally, the NFL Defendants’ argument
  25   that daily revenue figures for the two bars are relevant for antitrust market definition
  26   is logically flawed and a throwaway at best considering the Ninth Circuit’s
  27   statements concerning the relevant market here.
  28
                                                  2
        Case No. 2:15-ml-02668-PSG (JEMx)             Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                      Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 5 of 19 Page ID
                                 #:7620


   1   II.     DISCOVERY REQUESTS AND RESPONSES IN DISPUTE
   2           Pursuant to Local Rule 37-2.1, the interrogatory at issue (Interrogatory No.
   3   10) and Commercial Plaintiffs’ responses to that interrogatory are copied verbatim
   4   below.
   5           INTERROGATORY NO. 10
   6           Identify the approximate amount of revenue generated on each day of the
   7   week and identify the day of the week that Your establishment generated the most
   8   revenue.
   9           GAEL PUB’S RESPONSE TO INTERROGATORY NO. 10
  10           Gael Pub objects to this Interrogatory as “downstream,” overly broad, unduly
  11   burdensome, and not seeking information relevant to any party’s claims or defense
  12   in this litigation. Gael Pub will not provide information concerning “downstream”
  13   discovery in response to the Interrogatories.
  14           MUCKY DUCK’S RESPONSE TO INTERROGATORY NO. 10
  15           Mucky Duck objects to this Interrogatory as “downstream,” overly broad,
  16   unduly burdensome, and not seeking information relevant to any party’s claims or
  17   defense in this litigation. Mucky Duck will not provide information concerning
  18   “downstream” discovery in response to the Interrogatories.
  19   III.    PARTIES’ CONTENTIONS
  20           A.        NFL DEFENDANTS’ STATEMENT
  21                     1.       Factual and Procedural Background
  22           On November 29, 2021, the NFL Defendants served their First Set of
  23   Interrogatories on Commercial Plaintiffs. Declaration of Justin Mungai in Support
  24   of the NFL Defendants’ Motion to Compel Commercial Plaintiffs to Respond to
  25   Interrogatory No. 10 (“Mungai Decl.”); Ex. A. Commercial Plaintiffs requested an
  26   extension to provide their responses, which the NFL Defendants granted as a
  27   courtesy.        Commercial Plaintiffs thereafter responded to the First Set of
  28   Interrogatories on January 24, 2022. Mungai Decl.; Mucky Duck Responses to NFL
                                               3
        Case No. 2:15-ml-02668-PSG (JEMx)            Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                     Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 6 of 19 Page ID
                                 #:7621


   1   Defs.’ First Set of Interrogatories [Ex. B.]; Gael Pub Responses to NFL Defs.’ First
   2   Set of Interrogatories [Ex. C.]. That response included numerous evasive and
   3   incomplete responses to several interrogatories.1
   4              On February 9, 2022, the NFL Defendants served a letter to the Commercial
   5   Plaintiffs, pursuant to Local Rule 37-1, pointing out the deficiencies in their
   6   responses. Mungai Decl.; 2022.02.09 NFL Defs.’ Letter to Plfs [Ex. D.]. During a
   7   subsequent meet and confer, Plaintiffs agreed to provide amended responses by
   8   February 25, 2022,
   9              Plaintiffs, however, delayed even further and ultimately did not serve their
  10   amended responses until March 7, 2022. Mungai Decl.; Mucky Duck Amended
  11   Responses to NFL Defs.’ First Set of Interrogatories [Ex. E.], Gael Pub Amended
  12   Responses to NFL Defs.’ First Set of Interrogatories [Ex. F.]. The amendments did
  13   not cure the problems, prompting the NFL Defendants to serve yet another letter to
  14   Commercial Plaintiffs pursuant to Local Rule 37-1 on March 15, 2022. Mungai
  15   Decl.; 2022.03.15 NFL Defs.’ Letter to Plfs. [Ex. G.]
  16              The parties met and conferred again on March 22, 2022. In the interest of
  17   streamlining the areas for dispute, the NFL Defendants addressed the sufficiency of
  18   Commercial Plaintiffs’ responses to only two interrogatories—Interrogatory Nos. 9
  19   and 10. Commercial Plaintiff Mucky Duck agreed to supplement its inadequate
  20   response to Interrogatory No. 9, which it did on April 1, 2022.2 Mungai Decl.;
  21   Mucky Duck Second Amended Responses to NFL Defs.’ First Set of Interrogatories
  22
       1
  23   As one example, the NFL Defendants requested that Commercial Plaintiffs
     identify, on average, how many customers they had on each day of the week, the day
  24
     of the week on which they had the most Customers, and their customers’ television
  25 preferences and Club loyalties. Mucky Duck’s initial response, which it has since
     supplemented, was simply that “the amount of customers [it] has at any given time
  26
     varies all of the time.” Ex. B, Response to Interrogatory No. 9.
  27   2
      Commercial Plaintiff Gael Pub had provided a more forthcoming response in its
  28 First Amended Response and did not further amend its response.
                                            4
           Case No. 2:15-ml-02668-PSG (JEMx)         Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                     Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 7 of 19 Page ID
                                 #:7622


   1   [Ex. H.]. Both Commercial Plaintiffs refused to provide any supplemental response
   2   to Interrogatory No. 10.
   3              Commercial Plaintiffs’ failure to provide any response whatsoever to a
   4   legitimate interrogatory has left the NFL Defendants no choice but to seek court
   5   intervention to compel a response.
   6                        2.       Legal Standard
   7              Litigants “may obtain discovery regarding any matter, not privileged, that is
   8   relevant to the claim or defense of any party.” Fed. R. Civ. P. 26(b)(1). “Relevant
   9   information for purposes of discovery is information reasonably calculated to lead
  10   to the discovery of admissible evidence.” Surfvivor Media, Inc. v. Survivor Prods.,
  11   406 F.3d 625, 635 (9th Cir. 2005). “The party who resists discovery has the burden
  12   to show discovery should not be allowed, and has the burden of clarifying,
  13   explaining, and supporting its objections.” Superior Commc’ns v. Earhugger, Inc.,
  14   257 F.R.D. 215, 217 (C.D. Cal. 2009).
  15                        3.       Commercial Plaintiffs must respond to this Plainly Relevant
  16                                 Interrogatory
  17              The sole basis Commercial Plaintiffs provide for refusing to substantively
  18   respond to Interrogatory No. 10 is that it seeks “downstream data,”3 and thus is
  19   categorically exempt from discovery. That refusal is unjustified. Notably, there are
  20   no decisions in this Circuit that support a categorical prohibition on the discovery of
  21   downstream data. Commercial Plaintiffs point to district court cases from other
  22   circuits in an attempt to justify their refusal, but, in the process, overread the holdings
  23   of those cases. Simply put, most of the cases on which Plaintiffs rely do not hold
  24   that discovery of “downstream data” is categorically prohibited. Instead, they stand
  25   merely for the proposition that such information is not relevant where it is being
  26
       3
       The NFL Defendants understand “downstream” data to refer to information
  27
     regarding Plaintiffs’ activities that are not directly related to Defendants or the
  28 alleged antitrust violation.
                                               5
           Case No. 2:15-ml-02668-PSG (JEMx)              Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                          Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 8 of 19 Page ID
                                 #:7623


   1   sought in support of an argument that an antitrust defendant should be free from
   2   liability if the alleged overcharge has been passed on to third parties. See In re
   3   Vitamins Antitrust Litig., 198 F.R.D. 296, 299–301 (D.D.C. 2000) (holding that
   4   downstream data is relevant where defendants “are not seeking discovery of this data
   5   in order to assert a pass-on defense.”); In re Solodyn (Minocycline Hydrochloride)
   6   Antitrust. Litig., No. 14-2503-DJC, 2016 WL 6897809, at *1 (D. Mass. Sept. 19,
   7   2016) (acknowledging that downstream data is discoverable where it is relevant to
   8   class certification or other issues in the case); In re Air Cargo Shipping Servs.
   9   Antitrust Litig., No. 06–MD–1775, 2010 WL 4916723, at *2–3 (E.D.N.Y. Nov. 24,
  10   2010) (explaining that courts disfavor downstream discovery where a defendant
  11   asserts a pass-on defense, but also recognizing certain exceptions where that
  12   evidence is relevant to specific issues in the case); In re Pressure Sensitive
  13   Labelstock Antitrust Litig., 226 F.R.D. 492, 498 (M.D. Pa. Feb. 17, 2005) (noting
  14   that downstream data is discoverable where a showing can be made that “some large
  15   subset of the class benefitted from the price fixing conspiracy, making their interests
  16   antagonistic to other class members.”).4
  17              Importantly, the NFL Defendants are not seeking this discovery in order to
  18   assert a pass-on defense. Therefore, the only pertinent question is “whether the
  19   requested [downstream] discovery [is] relevant to [other] issues of the case.” In re
  20   Urethane Antitrust Litig., 237 F.R.D. 454, 463 (D. Kan. 2006). Such information
  21   can be relevant where it bears on the issue of whether the interests of a putative class
  22   are substantially aligned with the interests of the class members whom they purport
  23   to represent under Rule 23. See Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d
  24

  25   4
        The prohibition on discovery related to a potential pass-on defense is grounded in
  26 the Supreme Court’s decisions in Hanover Shoe, Inc. v. United Shoe Machinery
     Corp., 392 U.S. 481, 494 (1968) and Illinois Brick Co. v. Illinois, 431 U.S. 720, 746
  27
     (1977), which only hold that an antitrust defendant is not absolved of antitrust
  28 liability where an alleged overcharge is passed on to consumers.
                                               6
           Case No. 2:15-ml-02668-PSG (JEMx)        Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                    Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 9 of 19 Page ID
                                 #:7624


   1   1181, 1193–94 (11th Cir. 2003) (noting that where some “class members would have
   2   experienced a net gain from the conduct alleged to be wrongful in this instance[,] it
   3   is highly likely . . . that the economic interests of these putative class members would
   4   be substantially in conflict with the interests of the named representatives who did
   5   not experience a net gain from the defendants’ conduct”).
   6           That logic applies here: the revenue information requested is important to
   7   assess whether Commercial Plaintiffs “experienced a net gain” from the alleged
   8   antitrust violation, in comparison to other commercial establishments that were
   9   smaller in size or did not have the capability to display multiple games or to
  10   accommodate more customers, and thus may have been harmed. See Valley Drug,
  11   350 F.3d at 1196 (“Rule 23(a)(4) does not permit a class to be certified under such
  12   circumstances because it would be impossible for the named representatives to
  13   ‘vigorously prosecute the interests of the class’ if significant members in the class[,
  14   including the named representatives themselves,] actually experience a net benefit
  15   from the conduct [they are] challeng[ing.]”) (quoting In re HealthSouth Corp. Sec.
  16   Litig., 213 F.RD. 447, 456 (N.D. Ala. 2003)); cf. In re Fresh and Process Potatoes
  17   Antitrust Litig., 2014 WL 12616658, at *2 (D. Idaho June 24, 2014) (permitting
  18   downstream discovery into customer purchasing decisions in order to determine if
  19   the class members were driven to purchase the potatoes for divergent reasons,
  20   potentially revealing misaligned interests).
  21           Moreover, the requested revenue information is also relevant to market
  22   definition, and thus the merits. See, e.g., In re Cathode Ray Tube (CRT) Antitrust
  23   Litig., 301 F.R.D. 449, 454 (N.D. Cal. 2014) (allowing downstream discovery
  24   because it was relevant to merits issues, including “injury, and to rebut any argument
  25   that competitor communications and price monitoring are indicative of an improper
  26   conspiracy”). The product market for antitrust purposes “must encompass the
  27   product at issue as well as all economic substitutes for the product.” Epic Games,
  28   Inc. v. Apple Inc., No. 4:20-cv-05640-YGR, 2021 WL 4128925, at *81 (N.D. Cal.
                                              7
        Case No. 2:15-ml-02668-PSG (JEMx)             Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                      Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 10 of 19 Page ID
                                  #:7625


   1   Sept. 10, 2021) (citation omitted). “The outer boundaries of a product market are
   2   determined by the reasonable interchangeability of use or the cross-elasticity of
   3   demand between the product itself and substitutes for it,” taking into account factors
   4   such as the product’s characteristics and the customers of the product. See Brown
   5   Shoe Co. v. United States, 370 U.S. 294, 325–26(1962). Comparison of the amount
   6   of revenue earned on Sundays (when out-of-market NFL football games are shown
   7   on Sunday Ticket) versus other days of the week (when other entertainment or sports
   8   were available for customers on the establishments’ televisions) is relevant to
   9   determining whether other television programming is substitutable for live NFL
  10   telecasts.
  11              Given that the information requested is at least relevant for the two reasons
  12   detailed above, Commercial Plaintiffs should be required to respond to this
  13   Interrogatory. Despite boilerplate objections, Plaintiffs have made no showing of
  14   burden, nor can they. The Interrogatory is targeted, specific, and can be easily
  15   ascertained using Commercial Plaintiffs’ records. See In re Vitamins, 198 F.R.D. at
  16   301–02 (noting that the Court weighs the burden of responding to discovery with the
  17   relevance of the information sought). Were this Interrogatory burdensome, Plaintiffs
  18   could have detailed the extent of that burden in their responses, amended responses,
  19   or during the parties’ two meet and confers, but they did not. Any attempt to allege
  20   burden now must be considered waived.5
  21              Ultimately, to the extent Plaintiffs contend that the information requested is
  22   not relevant, such “a factual dispute . . . goes to the merits of the case and cannot be
  23   resolved on a discovery motion by this Court but only by the District Court on
  24
       5
       The NFL Defendants made clear to Commercial Plaintiffs that their responses need
  25 not reflect precise revenue earnings for the requested periods; rather, the NFL
  26 Defendants are primarily interested in average revenues over time, which will give
     the NFL Defendants a sense of what days of the week Commercial Plaintiffs
  27
     generate most of their revenue. This information can be presented by quarter for the
  28 duration of the Class Period.
                                              8
           Case No. 2:15-ml-02668-PSG (JEMx)          Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                      Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 11 of 19 Page ID
                                  #:7626


   1   summary judgment or at trial.”                Minutes Order re Plfs.’ Motion to Compel
   2   Production of Documents by Non-Party Charter Communications, Inc. (Dkt. No.
   3   403 at 6). “[N]either party can prove or disprove [relevance] at this point[,]” but the
   4   NFL Defendants require the information to “conduct their analyses,” as described
   5   above.          Id.        Accordingly, the Court should hold that the requested revenue
   6   information is relevant for discovery purposes here.
   7                         4.      Conclusion
   8              For these reasons detailed above, The NFL Defendants respectfully request
   9   that the Court compel Commercial Plaintiffs to respond to Interrogatory No. 10.
  10   Given the minimal burden associated with responding to this Interrogatory, the NFL
  11   Defendants respectfully request that the Court compel these responses within ten
  12   (10) days of the Court’s hearing on this motion.
  13              B.         PLAINTIFFS’ STATEMENT
  14                         1.      Downstream Discovery is Highly Disfavored
  15              The NFL Defendants here merely knock down their own straw man. Contrary
  16   to the NFL Defendants’ implication, the presumption against downstream discovery
  17   in antitrust class actions is not limited to the question of passing-on of damages.
  18   Courts disfavor such fishing expeditions in general. “[L]ower courts have, for the
  19   most part, found downstream information to be non-discoverable, whether for
  20   market definition, class certification, damages, or indirect purchaser issues.” In re
  21   Pool Prods. Distrib. Mkt. Antitrust Litig., No. 12-md-02328, Docket No. 174 at 14-
  22   15 (E.D. La. Nov. 6, 2012) (Vance. J.).6 Notably, the Supreme Court has admonished
  23

  24   6
        See also In re Niaspan Antitrust Litig., No. 13-MD-2460, 2015 WL 4197590, at *1
  25   (E.D. Pa. July 9, 2015) (denying downstream motion to compel noting “that courts
       and juries will not be forced down the rabbit hole of hypothetical issues antitrust
  26   violators may raise to minimize their liability”) (quoting In re Skelaxin (Metaxalone)
  27   Antitrust Litig., No. 12-MD-2343, 2014 WL 2002887, at *5 (E.D. Tenn. May 15,
       2014)); In re Air Cargo Shipping Servs. Antitrust Litig., No. 06-md-01775, 2010 WL
  28   4916723, at *4 (E.D.N.Y. Nov. 4, 2010) (rejecting effort to obtain discovery of
                                                  9
           Case No. 2:15-ml-02668-PSG (JEMx)              Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                          Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 12 of 19 Page ID
                                  #:7627


   1   that diversions into downstream inquiries have the potential to “substantially
   2   reduce[]” the effectiveness of antitrust actions. Hanover Shoe, Inc. v. United Shoe
   3   Mach. Corp., 392 U.S. 481, 493-94 (1968); see also Meijer Inc. v. Abbott
   4   Laboratories, 251 F.R.D 431, 434 (N.D. Cal. 2008) (noting the “potential deterrent
   5   effect” of permitting fishing expeditions into plaintiffs’ downstream data).
   6           Accordingly, at least one court has expressly held that “[d]efendants … have
   7   a very high standard to meet to establish the right to seek downstream discovery.”
   8   In re K-Dur Antitrust Litig., No. CIV-01-1652 (JAG), 2007 WL 5302308, at *14
   9   (D.N.J. Jan. 2, 2007); see also In re Auto. Refinishing Paint Antitrust Litig., 2006
  10   WL 1479819, at *7-8 (E.D. Pa. May 26, 2006) (declining to “depart from the
  11   longheld practice of proscribing discovery of downstream data”). The NFL
  12   Defendants here fail to satisfy their substantial burden.
  13                     2.       NFL Defendants Seek Discovery of Downstream Data That
  14                              Do Not Exist and Would be Unduly Burdensome, If Even
  15                              Possible, to Create
  16           As a threshold matter, Commercial Plaintiffs can only respond to discovery
  17   requests with information in their possession, custody, or control. Commercial
  18   Plaintiffs are small local sports bars that do not maintain revenue matrices and have
  19   not tracked daily revenues generated throughout the class period in a way that would
  20
       plaintiffs’ pricing and methods of determining downstream pricing and recognizing
  21   the myriad cases that have denied downstream discovery); In re Auto. Refinishing
  22   Paint Antitrust Litig., MDL No. 1426, 2006 WL 1479819, at *7-8 (E.D. Pa. May 26,
       2006) (precluding downstream discovery relating to market conditions, nature of
  23   industry and damages); In re Relafen Antitrust Litig., 346 F. Supp. 2d 349, 369 (D.
  24   Mass. 2004) (“Hanover Shoe precludes not only the “passing on” defense, but also
       the subtle variation . . . which might be termed the “otherwise benefiting” defense”)
  25   (citing Sports Racing Servs., Inc. v. Sports Car Club of Am., Inc., 131 F.3d 874, 884–
  26   85 (10th Cir.1997); In re Wirebound Boxes Antitrust Litig., 131 F.R.D. 578, 578 (D.
       Minn. 1990) (holding that plaintiffs’ downstream data were irrelevant because
  27
       plaintiffs were seeking overcharge damages, not damages based on their lost profits
  28   or lost sales).
                                                  10
        Case No. 2:15-ml-02668-PSG (JEMx)               Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                        Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 13 of 19 Page ID
                                  #:7628


   1   readily enable a response to the NFL Defendants’ Interrogatory No. 10. Requiring
   2   Commercial Plaintiffs to attempt to construct daily approximations through deposit
   3   records and other information would be an unreasonable burden to impose here.7
   4              NFL Defendants assume that the Commercial Plaintiffs can “easily” calculate
   5   revenue earnings for the entirety of the eleven-year class period by day of the week
   6   and, from those calculations, determine which day of the week generated the most
   7   revenue. But the Commercial Plaintiffs have no business reason to have maintained
   8   their accounting in this way (comparing revenue, by day of the week, for 11 years),
   9   nor would it be a small task to amass all of their accounting records and attempt
  10   these types of calculations. One of the two Commercial Plaintiffs is no longer an
  11   ongoing concern, and both small businesses have piecemeal accounting records that
  12   would require considerable effort to reassemble in the precise manner that the NFL
  13   Defendants insist on.
  14              It is no solution either that the NFL Defendants are “interested in average
  15   revenues . . . for the duration of the Class Period.” Supra at 8 n. 5. The investigative
  16   work and forensic accounting would be much the same, and the Commercial
  17   Plaintiffs doubt that their present records, when stitched together, would even supply
  18   the raw data needed to calculate average revenues, by day, for the whole class period.
  19   NFL Defendants do not seem to comprehend the enormity of the task and what it
  20   would take for these small businesses to provide what the NFL Defendants seek.
  21

  22

  23
       7
  24    The NFL Defendants make a meritless assertion that Commercial Plaintiffs’ burden
       argument has somehow been waived because it was not raised in the meet and confer
  25   sessions regarding Interrogatory No. 10. Commercial Plaintiffs objected on burden
  26   grounds in each of its responses and supplemental responses, as the responses above
       reflect. The NFL Defendants never sought to confer on that point because
  27
       Commercial Plaintiffs declined production flatly on the NFL Defendants’ failure to
  28   meet their high burden.
                                                11
           Case No. 2:15-ml-02668-PSG (JEMx)         Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                     Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 14 of 19 Page ID
                                  #:7629


   1                     3.       Interrogatory No. 10 Seeks Irrelevant Downstream Data
   2                              a.        The NFL Defendants’ Overcharges Benefited No One
   3           There is also no merit to the NFL Defendants’ assertion that the downstream
   4   information here is relevant to assess whether the class representatives “experienced
   5   a net gain” compared to “other commercial establishments that were smaller in size
   6   or did not have the capability to display multiple games or to accommodate more
   7   customers.” Supra at 7:7-10. Contrary to the NFL Defendants’ argument, whether
   8   the class representatives’ revenues increased because they purchased Sunday Ticket
   9   does not create a class certification concern. Indeed, it stands to reason that every
  10   entity purchasing Sunday Ticket for its business did so because it anticipated doing
  11   so would add to the bottom line. Nor does that dynamic mitigate an antitrust
  12   overcharge; every intermediate commercial buyer of goods and services strives to
  13   make a profit downstream, and doing so does not disqualify them as victims of
  14   antitrust violations upstream. See Hanover Shoe, 392 U.S. at 494-95; Illinois Brick
  15   Co. v. Illinois, 431 U.S. 720, 729-30 (1977); In re Niaspan Antitrust Litig., No. 13-
  16   MD-2460, 2015 WL 4197590, at *1 (E.D. Pa. July 9, 2015) (recognizing that once
  17   a supplier sells a product at an anticompetitive price “the injury [is] complete”)
  18   (quoting In re Skelaxin (Metaxalone) Antitrust Litig., No. 12-MD-2343, 2014 WL
  19   2002887, at *5 (E.D. Tenn. May 15, 2014)).
  20           The relevant question is not whether the product purchased might have
  21   facilitated profits down the line (all businesses hope to recoup their input costs), but
  22   rather whether the anticompetitive conduct benefited class members differently.
  23   Here, the named class representatives and the class members they represent seek
  24   recovery of an overcharge, not lost profits. Regardless of their respective revenues,
  25   their interests are aligned because they all paid more than they would have for
  26   Sunday Ticket in the absence of the supracompetitive conspiratorial price.
  27           The NFL Defendants fundamentally misapply the principal case on which
  28   they rely for their class certification relevance argument, Valley Drug Co. v. Geneva
                                                    12
        Case No. 2:15-ml-02668-PSG (JEMx)                 Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                          Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 15 of 19 Page ID
                                  #:7630


   1   Pharms., Inc., 350 F.3d 1181 (11th Cir. 2003). Valley Drug involved an agreement
   2   by a brand-name drug manufacturer with a generic company to delay the generic’s
   3   entry into the market. In denying class certification, the court found the potential for
   4   the requisite “fundamental” conflict going to the specific issues in controversy
   5   because national wholesalers sold “their products on a ‘cost-plus’ basis pursuant to
   6   which they charge the same percentage mark-up from their acquisition cost on both
   7   branded and generic drugs.” Valley Drug, 350 F.3d at 1190.
   8           As the Eleventh Circuit panel observed in Valley Drug, “[a] fundamental
   9   conflict exists where some party members claim to have been harmed by the same
  10   conduct that benefitted other members of the class.” 350 F.3d at 1189 (emphasis
  11   added). The national wholesalers benefited from the challenged conduct itself – the
  12   agreement to forestall generic entry – because they were able to sell more branded
  13   drugs, with a higher base price for the percentage mark-up than generics. In contrast,
  14   regional wholesalers who did not sell on a “cost-plus” basis were not similarly
  15   benefited, and indeed were harmed, by the agreement. Id. at 1190-93. Valley Drug
  16   is the exceptional case where the challenged conduct yielded a specific benefit to
  17   some.
  18           Not so here. The named class representatives, like every subscriber in the
  19   commercial class, are alleged to have suffered an overcharge on Sunday Ticket;
  20   there were no windfalls or “winners” from the challenged conduct, only losers. The
  21   revenue information sought would provide no insight into any purported class
  22   conflict whatsoever.
  23                         b. The Revenue Information Sought Cannot Inform Market
  24                              Definition
  25           The NFL Defendants’ argument that this revenue information is necessary for
  26   market definition is similarly incoherent. Even if Commercial Plaintiffs went to great
  27   lengths to supply the information sought, that day-by-day revenue comparison
  28
                                                 13
        Case No. 2:15-ml-02668-PSG (JEMx)           Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                    Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 16 of 19 Page ID
                                  #:7631


   1   would tell us nothing about “whether other television programming is substitutable
   2   for live NFL telecasts.” Supra at 8:9-10.
   3           People go to Commercial Plaintiffs’ establishments—and spend money
   4   there—for many reasons, not just because of what is on television. The Mucky Duck,
   5   for example, features darts and pool and even hosts San Francisco Dart League
   6   games. Monday nights are “industry nights,” with specials for hospitality workers.
   7   From time to time, specific fundraisers and benefits have likewise drawn in crowds.
   8   While it was in business, Gael Pub hosted live music and had “the best trivia in
   9   NYC,” according to New York Magazine. For all of these reasons, “[c]omparison of
  10   the amount of revenue earned on Sundays (when out-of-market NFL football games
  11   are shown on Sunday Ticket) versus other days of the week (when other
  12   entertainment or sports were available for customers on the establishments’
  13   television” cannot “determin[e] whether other television programming is
  14   substitutable for live NFL telecasts.” Supra at 8:5-10. Gross revenue data would only
  15   show how much these businesses brought in from their operations (and attractions)
  16   in total.
  17           The NFL Defendants’ insistence on detailed plaintiff revenue information for
  18   purposes of market definition (purportedly to demonstrate that “other entertainment
  19   or sports” are substitutes for NFL games) is untenable for another reason too. The
  20   Ninth Circuit has already held—in this case—that “fans do not consider NFL games
  21   to be comparable to other sports or forms of entertainment.” In re Nat’l Football
  22   League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1155 (9th Cir. 2019) (citing
  23   L.A. Mem’l Coliseum Comm'n v. Nat'l Football League, 726 F.2d 1381, 1393 (9th
  24   Cir. 1984). That should end the discussion.
  25                     4.       Conclusion
  26           For the foregoing reasons, Commercial Plaintiffs respectfully request that the
  27   Court deny NFL Defendants’ motion to compel a response to Interrogatory No. 10.
  28
                                                   14
        Case No. 2:15-ml-02668-PSG (JEMx)           Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                    Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 17 of 19 Page ID
                                  #:7632


   1   Dated: April 26, 2022
                                           By: /s/ Beth A. Wilkinson
   2                                           Beth A. Wilkinson (admitted pro hac vice)
                                               Brian L. Stekloff (admitted pro hac vice)
   3                                           Rakesh N. Kilaru (admitted pro hac vice)
                                               Jeremy S. Barber (admitted pro hac vice)
   4                                           WILKINSON STEKLOFF LLP
                                               2001 M Street NW, 10th Floor
   5                                           Washington, DC 20036
                                               Telephone: (202) 847-4000
   6                                           Facsimile: (202) 847-4005
                                               bwilkinson@wilkinsonstekloff.com
   7                                           bstekloff@wilkinsonstekloff.com
                                               rkilaru@wilkinsonstekloff.com
   8                                           jbarber@wilkinsonstekloff.com
   9                                           Neema T. Sahni (Bar No. 274240)
                                               COVINGTON & BURLING LLP
  10                                           1999 Avenue of the Stars
                                               Suite 1500
  11                                           Los Angeles, CA 90067-6045
                                               Telephone: (424) 332-4800
  12                                           Facsimile: (424) 332-4749
                                               nsahni@cov.com
  13
                                               Gregg H. Levy (admitted pro hac vice)
  14                                           Derek Ludwin (admitted pro hac vice)
                                               COVINGTON & BURLING LLP
  15                                           One CityCenter
                                               850 Tenth Street NW
  16                                           Washington, DC 20001
                                               Telephone: (202) 662-6000
  17                                           Facsimile: (202) 662-6291
                                               glevy@cov.com
  18                                           dludwin@cov.com
  19                                           Counsel for Defendants National Football
                                               League, NFL Enterprises LLC, and the
  20                                           Individual NFL Clubs
  21
                                           By: /s/ Marc M. Seltzer
  22                                           MARC M. SELTZER (54534)
                                               mseltzer@susmangodfrey.com
  23                                           SUSMAN GODFREY L.L.P.
                                               1900 Avenue of the Stars, 14th Floor
  24                                           Los Angeles, CA 90067
                                               Tel: (310) 789-3100
  25                                           Fax: (310) 789-3150
  26                                           SCOTT MARTIN
                                               smartin@hausfeld.com
  27                                           HAUSFELD LLP
                                               33 Whitehall Street, 14th Floor
  28                                           New York, NY 10004
                                                 15
       Case No. 2:15-ml-02668-PSG (JEMx)           Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                   Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 18 of 19 Page ID
                                  #:7633


   1                                       Tel: (646) 357-1100
                                           Fax: (212) 202-4322
   2
                                           HOWARD LANGER
   3                                       hlanger@langergrogan.com
                                           EDWARD DIVER
   4                                       ndiver@langergrogan.com
                                           PETER LECKMAN
   5                                       pleckman@langergrogan.com
                                           LANGER GROGAN AND DIVER PC
   6                                       1717 Arch Street, Suite 4130
                                           Philadelphia, PA 19103
   7                                       Tel: (215) 320-5660
                                           Fax: (215) 320-5703
   8
                                           ARUN SUBRAMANIAN
   9                                       asubramanian@susmangodfrey.com
                                           WILLIAM CHRISTOPHER CARMODY
  10                                       bcarmody@susmangodfrey.com
                                           SETH ARD
  11                                       sard@susmangodfrey.com
                                           EDWARD DELMAN
  12                                       edelman@susmangodfrey.com
                                           TYLER FINN
  13                                       tfinn@susmangodfrey.com
                                           SUSMAN GODFREY LLP
  14                                       1301 Avenue of the Americas, 32nd FL.
                                           New York, NY 10019
  15                                       Tel: (212) 336-8330/ Fax: (212) 336-8340
  16                                       IAN M. GORE
                                           igore@susmangodfrey.com
  17                                       SUSMAN GODFREY LLP
                                           1201 Third Avenue, Suite 3800
  18                                       Seattle, WA 98101
                                           Tel: (206) 505-3841/Fax: (206) 516-3883
  19
                                           MICHAEL D. HAUSFELD
  20                                       mhausfeld@hausfeld.com
                                           HAUSFELD LLP
  21                                       1700 K. Street NW, Suite 650
                                           Washington, DC 20006
  22                                       Tel: (202) 540-7200/Fax: (202) 540-7201
  23                                       MICHAEL P. LEHMANN
                                           mlehmann@hausfeld.com
  24                                       BONNY E. SWEENY
                                           bsweeney@hausfeld.com
  25                                       CHRISTOPHER L. LEBSOCK
                                           lebsock@hausfled.com
  26                                       HAUSFELD LLP
                                           600 Montgomery St., Suite 3200
  27                                       San Francisco, CA 94111
                                           Tel: (415) 633-1908/Fax: (415) 358-4980
  28
                                            16
       Case No. 2:15-ml-02668-PSG (JEMx)       Joint Stipulation Regarding the NFL Defendants’ Motion to
                                               Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
Case 2:15-ml-02668-PSG-SK Document 462-1 Filed 04/26/22 Page 19 of 19 Page ID
                                  #:7634


   1                                          Attorneys for Plaintiffs’ Co-Lead Counsel
   2   All signatories listed, and on whose behalf the filing is submitted, concur in the
       filing’s content and have authorized the filing.
   3

   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                17
        Case No. 2:15-ml-02668-PSG (JEMx)          Joint Stipulation Regarding the NFL Defendants’ Motion to
                                                   Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
